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                                UNITED STATES DISTRICT COURT
13                            NORTHERN DISTRICT OF CALIFORNIA
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     CURTIS HANSON, on behalf of himself,
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     all others similarly situated, and the general
16   public,                                          Case No.: 3:20-cv-2011
17                                                    CLASS ACTION
           Plaintiff,
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                         v.                           COMPLAINT
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20   WELCH FOODS INC.,                                DEMAND FOR JURY TRIAL
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           Defendant.
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 1         Plaintiff Curtis Hanson, on behalf of himself, all others similarly situated, and the
 2   general public, by and through his undersigned counsel, hereby sues Defendant Welch Foods
 3   Inc. (“Welch”), and alleges the following upon his own knowledge, or where he lacks
 4   personal knowledge, upon information and belief, including the investigation of his counsel.
 5                                        INTRODUCTION
 6         1.     Welch prominently represents on the label of each of its 100% Grape Juice,
 7   100% Juice Red Sangria, and 100% Black Cherry Concord Grape Juice products (the “Welch
 8   Grape Juices”) that it “Helps Support a Healthy Heart.” This representation—a
 9   structure/function claim—is false and misleading for at least three reasons.
10         2.     First, at levels typically consumed, 100% fruit juices, such as the Welch Grape
11   Juices, increase the risk of cardiovascular disease. Second, at levels typically consumed,
12   100% fruit juices, such as the Welch Grape Juices, increase the risk of type 2 diabetes. Third,
13   at levels typically consumed, 100% fruit juice is associated with increased all-cause mortality.
14         3.     Plaintiff brings this action against Welch on behalf of himself, other consumers,
15   and the general public, to enjoin Welch from deceptively marketing the Welch Grape Juices
16   as helping to support a healthy heart, and to recover compensation for injured class members.
17                                          THE PARTIES
18         4.     Plaintiff Curtis Hanson is a resident of Alameda County, California.
19         5.     Defendant Welch is a Michigan corporation with its principal place of business
20   at 300 Baker Avenue, Concord, Massachusetts 01742.
21                                 JURISDICTION AND VENUE
22         6.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §
23   1332(d)(2)(A), the Class Action Fairness Act, because the matter in controversy exceeds the
24   sum or value of $5,000,000 exclusive of interest and costs, and at least one member of the
25   class of plaintiffs is a citizen of a state different from Welch. In addition, more than two-
26   thirds of the members of the class reside in states other than the state in which Welch is a
27   citizen and in which this case is filed, and therefore any exceptions to jurisdiction under 28
28   U.S.C. § 1332(d) do not apply.
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 1          7.     The Court has personal jurisdiction over Welch pursuant to Cal. Code Civ. P. §
 2   410.10, as a result of Welch’s substantial, continuous and systematic contacts with the State,
 3   and because Welch has purposely availed itself of the benefits and privileges of conducting
 4   business activities within the State.
 5          8.     Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c), because Welch resides
 6   (i.e., is subject to personal jurisdiction) in this district, and a substantial part of the events or
 7   omissions giving rise to the claims occurred in this district.
 8                                INTRADISTRICT ASSIGNMENT
 9          9.     Pursuant to N.D. Cal. Civ. L.R. 3-2(c), (d) & 3-5(b), this action is properly
10   assigned to either the San Francisco or Oakland division because a substantial part of the
11   events and omissions which give rise to the claim occurred in Alameda County.
12                                                 FACTS
13   I.     WELCH MARKETS THE WELCH GRAPE JUICES AS HEART-HEALTHY
14          10.    Welch was founded in 1869 as a private company, but was later sold to the
15   National Grape Cooperative Association, comprising approximately 1,300 grape growers
16   throughout the United States and Canada. Although best known for its grape juices, Welch
17   also manufactures grape jams and jellies, and an array of other products, including other fruit
18   juices, concentrates, and fruit snacks.
19          11.    Among the grape juices Welch sells are those challenged in this lawsuit, the
20   Welch Grape Juices, as follows:
21                 • 100% Grape Juice
22                 • 100% Juice Red Sangria
23                 • 100% Black Cherry Concord Grape Juice
24          12.    The typical serving size for each of the Welch Grape Juices is 8 oz., equivalent
25   to 240 mL, though this may differ slightly for single-serve items, like cans and bottles. Each
26   8 oz. serving of the Welch Grape Juices contains between 34g and 36g of sugar per serving,
27   contributing all or most of the product’s calories.
28          13.    Eight ounces is also the FDA-promulgated Reference Amount Customarily
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 1   Consumed (RACC) for juice. 81 Fed. Reg. 34,000 (May 27, 2016). RACCs reflect amounts
 2   of food customarily consumed per eating occasion and are derived from data from the United
 3   States Department of Agriculture’s Nationwide Food Consumption Survey and the National
 4   Health and Nutrition Examination Survey (NHANES).
 5         14.    Since before the Class Period, and despite occasional changes in the design of
 6   the products’ labels, Welch has marketed the Welch Grape Juices as “supporting” or
 7   “promoting” a “healthy heart.” Welch knows or has reason to know consumers are likely to
 8   regard these representations as important in making a purchasing decision. For example, in a
 9   publication on its website titled “Hearty Research on Concord Grape Juice,” Welch states
10   that “[m]ore than half of Americans cite heart health as their top health concern.”
11         15.    Examples of Welch’s heart-healthy representations on the labels of the Welch
12   Grape Juices appear below (depictions are not intended to be complete or chronological).
13                                100% Grape Juice – 64 & 96 Oz.
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 1                     100% Grape Juice – 64 Oz.
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                       100% Grape Juice – 46 Oz.
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 1                100% Grape Juice – 10 Fl. Oz. bottles
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                    100% Grape Juice –11.5 Oz. cans
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 1              100% Grape Juice –11.5 & 12 Oz. bottles
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                    100% Red Juice Sangria – 64 Oz.
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 1                       100% Black Cherry Concord Grape – 64 Fl. Oz.
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25         16.    Welch’s bolstered the heart-healthy message through non-label advertising, such
26   as its use of numerous “info graphics” available on its website, including at a page available
27   at the URL www.welchs.com/health, as well as “heart healthy” recipes using Welch’s 100%
28   Grape Juice. Examples appear below.
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18   II.   THE SCIENTIFIC EVIDENCE DEMONSTRATES THAT CONSUMING
19         FRUIT JUICE, LIKE THE WELCH GRAPE JUICES, IS UNHEALTHY.
20         A.     The Consumption of 100% Fruit Juice Increases the Risk of Cardiovascular
21                Heart Disease
22         17.    Heart disease is the number one killer in the United States. The scientific
23   literature demonstrates that consumption of fruit juice at amounts typically consumed has
24   deleterious effects on heart health.
25         18.    In a study published January 2020, researchers set out to determine whether
26   consumption of sugar-containing beverages (SCB), including 100% fruit juice, is associated
27   with cardiometabolic risk (CMR) in preschool children, using data from 2007-2018 from
28   TARGet Kids!, a primary-care, practice-based research network in Canada. After adjusting
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 1   for sociodemographic, familial and child-related covariates, higher consumption of SCB was
 2   significantly associated with elevated CMR scores, including lower HDL “good” cholesterol,
 3   and higher triglycerides. In addition, when examined separately, 100% fruit juice was
 4   significantly associated with lower HDL cholesterol. The researchers stated that their
 5   “findings support recommendations to limit overall intake of SCB in early childhood, in [an]
 6   effort to reduce the potential long-term burden of CMR.”1
 7          19.     Analyzing data from the Danish Diet, Cancer and Health cohort study,
 8   representing 57,053 mean and women, aged 50 to 64 years old, researchers found “a tendency
 9   towards a lower risk of ACS [acute coronary syndrome] . . . for both men and women with
10   higher fruit and vegetable consumption,” but “a higher risk . . . among women with higher
11   fruit juice intake . . . .” 2
12          20.     In one study, those who consumed fruit juice daily, versus rarely or occasionally,
13   had significantly higher central systolic blood pressure, a risk factor for cardiovascular
14   disease, even after adjusting for age, height, weight, mean arterial pressure, heart rate, and
15   treatment for lipids and hypertension. 3
16          21.     Using aggregate data from three published studies examining sugar-sweetened
17   beverages and 100% fruit juice, researchers “modelled a non-linear dose-response using the
18   best fitting second-order fractional polynomial regression.” It showed that consumption of
19   100% fruit juice of up to 200 mL per day had a mild protective effect on cardiovascular
20   health, but the effect became harmful and increased steeply over 200 mL per day (equivalent
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       Eny, KM, et al., “Sugar-containing beverage consumption and cardiometabolic risk in
     preschool children.” Prev. Med. Reports 17 (Jan. 14, 2020).
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      Hansen, L., et al., “Fruit and vegetable intake and risk of acute coronary syndrome.” British
26
     J. of Nutr., Vol. 104, p. 248-55 (2010).
27   3
      Pase, M.P., et al., “Habitual intake of fruit juice predicts central blood pressure.” Appetite,
28   Vol. 84, p. 658-72 (2015).
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 1   to less than 7 ounces), as reflected in the below chart, replicated from the study.4
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11         22.    A study published just a few months later, looking at an entirely different set of
12   data, found nearly the identical association with hypertension, a CHD risk factor.5
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22         23.    Studies of the cardiovascular effects of added sugar consumption further suggest

23   fruit juice consumption causes increased risk for and contraction of cardiovascular disease,

24   4
      Khan, T.A., “A lack of consideration of a dose-response relationship can lead to erroneous
25   conclusions regarding 100% fruit juice and the risk of cardiometabolic disease.” European J.
26   of Clin. Nutr., Vol. 73, pp. 1556-60 (Sept. 2019).

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     5
       Liu, Q., et al., “Important Food Sources of Fructose-Containing Sugars and Incident
     Hypertension: A Systematic Review of Dose-Response Meta-Analysis of Prospective Cohort
28   Studies.” J. Am. Heart Ass’n, Vol. 8, No. 24 (Dec. 2019).
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 1   because the free sugars in 100% fruit juice act physiologically identically to added sugars,
 2   such as those in sugar-sweetened beverages.
 3         24.    For example, data obtained from NHANES surveys during the periods of 1988-
 4   1994, 1999-2004, and 2005-2010, after adjusting for a wide variety of other factors,
 5   demonstrate that those who consumed between 10% - 24.9% of their calories from added
 6   sugars had a 30% greater risk of cardiovascular disease (CVD) mortality than those who
 7   consumed 5% or less of their calories from added sugar. In addition, those who consumed
 8   25% or more of their calories from added sugars had an average 275% greater risk of CVD
 9   mortality than those who consumed less than 5% of calories from added sugar. Similarly,
10   when compared to those who consumed approximately 8% of calories from added sugar,
11   participants who consumed approximately 17% - 21% (the 4th quintile) of calories from
12   added sugar had a 38% higher risk of CVD mortality, while the relative risk was more than
13   double for those who consumed 21% or more of calories from added sugar (the 5th quintile).
14   Thus, “[t]he risk of CVD mortality increased exponentially with increasing usual percentage
15   of calories from added sugar,” as demonstrated in the chart below. 6
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      Yang, Quanhe, et al., “Added Sugar Intake and Cardiovascular Diseases Mortality Among
28   US Adults,” JAMA, at E4-5 (pub. online, Feb. 3, 2014).
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 1            25.      The NHANES analysis also found “a significant association between sugar-
 2   sweetened beverage consumption and risk of CVD mortality,” with an average 29% greater
 3   risk of CVD mortality “when comparing participants who consumed 7 or more servings/wk
 4   (360 mL per serving) with those who consumed 1 serving/wk or less . . . .” 7 The study
 5   concluded that “most US adults consume more added sugar than is recommended for a
 6   healthy diet. A higher percentage of calories from added sugar is associated with significantly
 7   increased risk of CVD mortality. In addition, regular consumption of sugar-sweetened
 8   beverages is associated with elevated CVD mortality.”8
 9            26.      Data from the Nurses’ Health Study consistently showed that, after adjusting for
10   other unhealthy lifestyle factors, those who consumed two or more sugar-sweetened
11   beverages per day (280 calories, or 70 grams of sugar or more) had a 35% greater risk of
12   coronary heart disease compared with infrequent consumers. 9
13            27.      In another prospective cohort study, it was suggested that reducing sugar
14   consumption in liquids is highly recommended to prevent CVD. Here, consumption of sugary
15   beverages was significantly shown to increase risk of CHD, as well as adverse changes in
16   some blood lipids, inflammatory factors, and leptin. 10
17            28.      Fruit juice consumption is also associated with several CHD risk factors. For
18   example, consumption of sugary beverages like 100% fruit juice has been associated with
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23   7
         Id. at E6.
24   8
         Id. at E8.
25   9
      Fung, T.T., et al., “Sweetened beverage consumption and risk of coronary heart disease in
26   women.” Am. J. of Clin. Nutr., Vol. 89, pp. 1037-42 (Feb. 2009).
27   10
       Koning, L.D., et al., “Sweetened Beverage Consumption, Incident Coronary Heart Disease,
28   and Biomarkers of Risk in Men.” Circulation, Vol. 125, pp. 1735-41 (2012).
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 1   dyslipidemia,11 obesity, 12 and increased blood pressure.13
 2         B.     The Consumption of 100% Fruit Juice Increases the Risk of Type 2
 3                Diabetes, which is a Strong Risk Factor for Cardiovascular Heart Disease
 4         29.    Type 2 diabetes is a well-known risk factor for cardiovascular disease.
 5         30.    Data from the Nurses’ Health Study, derived from 71,346 female nurses aged
 6   38 to 63, followed for 18 years starting in 1984, demonstrated that for each 1-serving per day
 7   increase in fruit juice consumption, risk of type 2 diabetes increased 18%.14
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16    Elliott S.S., et al., “Fructose, weight gain, and the insulin resistance syndrome.” Am. J. Clin.
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     Nutr., Vol. 76, No. 5, pp. 911-22 (2002).
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        Faith, M.S., et al., “Fruit Juice Intake Predicts Increased Adiposity Gain in Children From
     Low-Income Families: Weight Status-by-Environment Interaction.” Pediatrics, Vol. 118
19   (2006) (“Among children who were initially either at risk for overweight or overweight,
20   increased fruit juice intake was associated with excess adiposity gain, whereas parental
     offerings of whole fruits were associated with reduced adiposity gain.”); Schulze, M.B, et al.,
21   “Sugar-Sweetened Beverages, Weight Gain, and Incidence of Type 2 Diabetes in Young and
22   Middle-Aged Women.” JAMA, Vol. 292, No. 8, pp. 927-34 (2004); Ludwig, D.S., et al.,
     “Relation between consumption of sugar-sweetened drinks and childhood obesity: a
23   prospective, observational analysis.” Lancet, Vol. 257, pp. 505-508 (2001); Dennison, B.A.,
24   et al., “Excess fruit juice consumption by preschool-aged children is associated with short
     stature and obesity.” Pediatrics, Vol. 99, pp. 15-22 (1997).
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     13
       Hoare, E., et al., “Sugar- and Intense-Sweetened Drinks in Australia: A Systematic Review
26
     on Cardiometabolic Risk.” Nutrients, Vol. 9, No. 10 (2017).
27
      Bazzano, L.A., et al., “Intake of Fruit, Vegetables, and Fruit Juices and Risk of Diabetes in
     14
28   Women.” Diabetes Care, Vol. 31, No. 7, pp. 1311-17 (July 2008).
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 1         31.    In an analysis of tens of thousands of subjects from three prospective
 2   longitudinal cohort studies (the Nurses’ Health Study, Nurses’ Health Study II, and Health
 3   Professionals Follow-up Study), researchers found, after adjusting for BMI, initial diet,
 4   changes in diet, and lifestyle covariates, that increasing sugary beverage intake—which
 5   included both sugar-sweetened beverages and 100% fruit juice—by half-a-serving per day
 6   over a 4-year period was associated with a 16% greater risk of type 2 diabetes. 15
 7         32.    In another study of subjects from the Nurses’ Health Study, Nurses’ Health
 8   Study II, and Health Professionals Follow-up Study, researchers set out to “determine
 9   whether individual fruits are differentially associated with risk of type 2 diabetes,” looking at
10   the associated risk with eating three servings per week of blueberries, grapes and raisins,
11   prunes, apples and pears, bananas, grapefruit, oranges, strawberries, cantaloupe, and peaches,
12   plums and apricots, as well as “the same increment” in fruit juice consumption. They found
13   that “[g]reater consumption of specific whole fruits” was “significantly associated with a
14   lower risk of type 2 diabetes, whereas greater consumption of fruit juice is associated with a
15   higher risk.” The increased risk was approximately 8% based on three fruit juice servings per
16   week. 16 Similarly, a meta-analysis of 17 prospective cohort studies showed higher
17   consumption of fruit juice was associated with a 7% greater incidence of type 2 diabetes after
18   adjusting for adiposity. 17
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       Drouin-Chatier, J., et al., “Changes in Consumption of Sugary Beverages and Artificially
     Sweetened Beverages and Subsequent Risk of Type 2 Diabetes: Results From Three Large
23   Prospective U.S. Cohorts of Women and Men.” Diabetes Care, Vol. 42, pp. 2181-89 (Dec.
24   2019).

25   16
        Muraki, I., et al., “Fruit consumption and risk of type 2 diabetes: results from three
     prospective longitudinal cohort studies.” BMJ (Aug. 28, 2013).
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     17
       Imamura, F., et al., “Consumption of sugar sweetened beverages, artificially sweetened
     beverages, and fruit juice and incidence of type 2 diabetes: systematic review, meta-analysis,
28   and estimation of population attributable fraction.” BMJ, Vol. 351 (2015).
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 1         C.     The Consumption of 100% Fruit Juice is Associated with Increased All-
 2                Cause Mortality
 3         33.    In a cohort study of 13,440 black and white adults 45 years and older, observed
 4   for a mean of 6 years, each additional 12-oz serving per day of fruit juice was associated with
 5   a 24% higher all-cause mortality risk. This was significantly higher than the increased risk
 6   associated with all sugary beverages, including sugar-sweetened beverages like soda, which
 7   was 11% for each additional 12-oz serving per day. The researchers from Emory University,
 8   University of Alabama, and the Weill Cornell Medical College concluded their findings
 9   “suggest that consumption of sugary beverages, including fruit juices, is associated with all-
10   cause mortality.”18
11         D.     Because of the Compelling Evidence that Consuming 100% Fruit Juice is
12                Unhealthy, Authoritative Bodies Recommend Limiting its Consumption
13         34.    The American Academy of Pediatrics (AAP) suggests limiting fruit juice
14   consumption to no more than 4 to 6 ounces for young children aged 1 to 6,19 and no more
15   than 8 fluid ounces for children 7 to 18 years of age, and adults. 20 In addition, both the AAP
16   and Dietary Guidelines for Americans recommend that children be encouraged to consume
17   whole fruit in place of juice.21
18         35.    The most recent Dietary Guidelines for Americans states that “[t]he amounts of
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20
      Collin, L.J., et al., “Association of Sugary Beverage Consumption With Mortality Risk in
     18
21
     US Adults: A Secondary Analysis of Data From the REGARDS Study,” JAMA Network Open
22   Vol. 2, No. 5 (May 2019).
23   19
       Am. Academy of Pediatrics, “Healthy Children, Fit Children: Answers to Common
24   Questions From Parents About Nutrition and Fitness.” (2011).

25   20
       Heyman, M.B., et al., “Fruit Juice in Infants, Children, and Adolescents: Current
     Recommendations.” Pediatrics Vol. 139, No. 6 (June 2017).
26
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     21
       Id.; see also Auerbach, B.J., et al., “Review of 100% Fruit Juice and Chronic Health
     Conditions: Implications for Sugar-Sweetened Beverage Policy.” Adv. Nutr., Vol. 9, pp. 78-
28   85 (2018).
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 1   fruit juice allowed in the USDA Food Patterns for young children align with the
 2   recommendation from the American Academy of Pediatrics that young children consume no
 3   more than 4 to 6 fluid ounces of 100% fruit juice per day.”22
 4          36.    The World Health Organization recommends that no more than 10% of an
 5   adult’s calories, and ideally less than 5%, come from added sugar or from natural sugars in
 6   honey, syrups and fruit juice. For a 2,000-calorie diet, 5% is 25 grams: less than in a single
 7   serving of the Welch Grape Juices.
 8   III.   WELCH’S REPRESENTATION THAT THE WELCH GRAPE JUICES HELP
 9          SUPPORT A HEALTHY HEART, AND OMISSION OF MATIERAL FACTS
10          IT WAS OBLIGATED TO DISCLOSE, IS FALSE AND MISLEADING
11          37.    Because the scientific evidence demonstrates that consumption of 100% fruit
12   juice at levels below those typically consumed are associated with increased risk of
13   cardiovascular disease, increased risk of type 2 diabetes (a risk factor for cardiovascular
14   disease), other risk factors for cardiovascular disease, and all-cause mortality, Welch’s
15   representation that the Welch Grape Juices “Help[] Promote” or “Help[] Support a Healthy
16   Heart” are literally false, or at least highly misleading.
17          38.    In representing that the Welch Grape Juices “Help[] Support a Healthy Heart,”
18   Welch regularly and intentionally omits material information regarding the dangers of the
19   sugars in its products. Welch is under a duty to disclose this information to consumers because
20   (a) Welch is revealing some information about its products—enough to suggest they are
21   healthy—without revealing additional material information, (b) Welch’s deceptive omissions
22   concern human health, and specifically the detrimental health consequences of consuming its
23   products, (c) Welch was in a superior position to know of the dangers presented by the sugars
24   in its juices, as it is a global food company whose business depends upon food science and
25   policy, and (d) Welch actively concealed material facts not known to Plaintiff and the class.
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27
     22
        U.S. Dep’t of Health & Human Servs. and U.S. Dept. of Agric., “Dietary Guidelines for
     Americans        2015      –      2020,”      at    22    (8th    ed.),    available  at
28   https://health.gov/sites/default/files/2019-09/2015-2020_Dietary_Guidelines.pdf.
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 1   IV.   WELCH’S HEART HEALTH CLAIMS VIOLATE STATE AND FEDERAL
 2         REGULATIONS
 3         39.      The “heart health” statements on the labels of the Welch Grape Juices violate
 4   FDA food labeling regulations, which have been adopted as California’s labeling regulations
 5   pursuant to the California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Safety
 6   Code §§ 109875 et seq. (the “Sherman Law”). See id. § 110665 (“Any food is misbranded if
 7   its labeling does not conform with the requirements for nutrition labeling as set forth in
 8   Section 403(q) (21 U.S.C. Sec. 343(q)) of the federal act and the regulations adopted pursuant
 9   thereto.”).
10         40.      First, Welch’s heart health statements challenged herein are false and misleading
11   for the reasons described herein, in violation of 21 U.S.C. § 343(a), which deems misbranded
12   any food whose “label is false or misleading in any particular.” Welch accordingly also
13   violated California’s parallel provision of the Sherman Law. See Cal. Health & Safety Code
14   § 110660.
15         41.      Second, Welch’s heart health statements “fail[ed] to reveal facts that are material
16   in light of other representations made or suggested by the statement[s], word[s], design[s],
17   device[s], or any combination thereof,” in violation of 21 C.F.R. § 1.21(a)(1). Such facts
18   include the detrimental health consequences of consuming the Welch Grape Juices at typical
19   levels, including increased risk of cardiovascular disease, type 2 diabetes, and death.
20         42.      Third, in making its heart health statements, Welch failed to reveal facts that
21   were “[m]aterial with respect to the consequences which may result from use of the article
22   under” both “[t]he conditions prescribed in such labeling,” and “such conditions of use as are
23   customary or usual,” in violation of § 1.21(a)(2). Namely, Welch failed to disclose the
24   increased risk of serious chronic disease and death likely to result from the usual consumption
25   of the Welch Grape Juices in the customary and prescribed manner, i.e., at 8 ounces per
26   serving.
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 1                            PLAINTIFF’S RELIANCE & INJURY
 2         43.    Plaintiff Curtis Hanson has been a frequent purchaser of Welch 100% Grape
 3   Juice for several years. To the best of his recollection, Plaintiff has been purchasing Welch
 4   100% Grape Juice since at least the beginning of 2016. He purchased Welch 100% Grape
 5   Juice approximately once or twice per week from local Safeway stores in Berkeley and San
 6   Francisco, California. Plaintiff purchased Welch 100% Grape Juice in substantial part based
 7   upon Welch’s representation that the product “Helps Support a Healthy Heart,” which made
 8   the product seem like a healthy choice.
 9         44.    When purchasing Welch 100% Grape Juice, Plaintiff was seeking a product that
10   was healthy to consume, that is, whose consumption would not increase his risk of
11   cardiovascular disease, type 2 diabetes, and death. However, Welch’s representation that its
12   100% Grape Juice “Helps Support a Healthy Heart” was false or at least highly misleading,
13   and had the capacity, tendency, and likelihood to confuse or confound Plaintiff and other
14   consumers acting reasonably (including the class) because, as described in detail herein,
15   consumption of the Welch Grape Juices at typical levels are associated with increased risk of
16   cardiovascular disease, type 2 diabetes, and death.
17         45.    Plaintiff is not a nutritionist or food scientist, but rather a lay consumer who did
18   not have the specialized knowledge that Welch had regarding the physiological effects of
19   consuming the Welch Grape Juices. At the time of purchase, Plaintiff was unaware of the
20   extent to which consuming 100% fruit juice increases the risk of cardiovascular disease, type
21   2 diabetes, and death. Plaintiff acted reasonably in relying on Welch’s heart-healthy
22   marketing, which Welch intentionally placed on the products’ labels to induce average
23   consumers into purchasing the products, and knowing that the claim would be important to
24   such consumers in making purchasing decisions.
25         46.    The Welch Grape Juices cost more than similar products without misleading
26   labeling, and would have cost less absent the misleading heart health claims. If Welch were
27   enjoined from making the misleading claims, the market demand and price for the products
28   would drop, as it has been artificially and fraudulently inflated due to Welch’s use of the
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 1   deceptive labeling.
 2         47.    Plaintiff paid more for the Welch 100% Grape Juice, and would only have been
 3   willing to pay less, or unwilling to purchase it at all, absent the misleading labeling statements
 4   complained of herein. Class members likewise paid more for the Welch Grape Juices than
 5   they otherwise would have. For these reasons, the Welch Grape Juices were worth less than
 6   what Plaintiff and the class paid for them. As a result, Plaintiff lost money as a result of
 7   Welch’s deceptive claims and practices in that he did not receive what he paid for when
 8   purchasing the Welch Grape Juices.
 9         48.    Plaintiff has enjoyed Welch’s products in the past. If he could be assured through
10   prospective injunctive relief that the Welch Grape Juices are properly labeled, he would
11   consider purchasing Welch Grape Juices in the future.
12                                CLASS ACTION ALLEGATIONS
13         49.    Pursuant to Fed. R. Civ. P. 23, Plaintiff seeks to represent a class of all persons
14   in California who, on or after March 23, 2016 (the “Class Period”) purchased, for household
15   use and not for resale or distribution, one of the Welch Grape Juices bearing a claim that the
16   product “Helps Promote” or “Helps Support Heart Health.”
17         50.    Plaintiff nevertheless reserves the right to divide into subclasses, expand,
18   narrow, more precisely define, or otherwise modify the class definition prior to (or as part of)
19   filing a motion for class certification.
20         51.    The members in the proposed class are so numerous that individual joinder of
21   all members is impracticable, and the disposition of the claims of all class members in a single
22   action will provide substantial benefits to the parties and Court. Fed. R. Civ. P. 23(a)(1).
23         52.    Questions of law and fact common to Plaintiff and the class (Fed. R. Civ. P.
24   23(a)(2) include, without limitation:
25                a.       Whether Welch’s representation that the Welch Grape Juices “Help[]
26         Support Heart Health” is material.
27                b.       Whether Welch’s representation that the Welch Grape Juices “Help[]
28         Support Heart Health” is likely to mislead a reasonable consumer in light of the
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 1   scientific evidence of the health effects of consuming 100% fruit juice.
 2         c.     Whether Welch’s conduct violated the California False Advertising Law,
 3   Cal. Bus. & Prof. Code §§ 17500 et seq., the California Consumers Legal Remedies
 4   Act, Cal. Civ. Code §§ 1750 et seq., the Federal Food, Drug, and Cosmetic Act, 28
 5   U.S.C. §§ 301 et seq., and its implementing regulations, 21 C.F.R. §§ 101 et seq., the
 6   California Sherman Food, Drug, and Cosmetic Law, Cal. Health & Safety Code §§
 7   109875, et seq., or any other regulation, statute, or law;
 8         d.     Whether Welch’s policies, acts, and practices with respect to the Welch
 9   Grape Juices were designed to, and did result in the purchase and use of the products
10   by the class members primarily for personal, family, or household purposes;
11         e.     Whether Welch represented that the Welch Grape Juices have
12   characteristics, uses, or benefits which they do not have, within the meaning of Cal.
13   Civ. Code § 1770(a)(5);
14         f.     Whether Welch represented that the Welch Grape Juices are of a
15   particular standard, quality, or grade, when they were really of another, within the
16   meaning of Cal. Civ. Code § 1770(a)(7);
17         g.     Whether Welch advertised the Welch Grape Juices with the intent not to
18   sell it as advertised, within the meaning of Cal. Civ. Code § 1770(a)(9);
19         h.     Whether Welch represented that the Welch Grape Juices have been
20   supplied in accordance with a previous representation when it has not, within the
21   meaning of Cal. Civ. Code § 1770(a)(16);
22         i.     Whether through the challenged labels and advertising, Welch made
23   affirmations of fact or promises, or descriptions of the goods, whether they became
24   part of the basis of the bargain, and whether Welch failed to provide goods in
25   conformation with them.
26         j.     The proper equitable and injunctive relief;
27         k.     The proper amount of restitution or disgorgement; and
28         l.     The proper amount of reasonable litigation expenses and attorneys’ fees.
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 1          53.    Plaintiff’s claims are typical of class members’ claims in that they are based on
 2   the same underlying facts, events, and circumstances relating to Welch’s conduct. Fed. R.
 3   Civ. P. 23(a)(3).
 4          54.    Plaintiff will fairly and adequately represent and protect the interests of the class,
 5   has no interests incompatible with the interests of the class, and has retained counsel
 6   competent and experienced in class action, consumer protection, and false advertising
 7   litigation, including within the food industry.
 8          55.    Class treatment is superior to other options for resolution of the controversy
 9   because the relief sought for each class member is small such that, absent representative
10   litigation, it would be infeasible for class members to redress the wrongs done to them.
11          56.    Questions of law and fact common to the class predominate over any questions
12   affecting only individual class members.
13          57.    As a result of the foregoing, class treatment is appropriate under Fed. R. Civ. P.
14   23(a), (b)(2), and (b)(3), and may be appropriate for certification “with respect to particular
15   issues” under Rule 23(b)(4).
16                                       CAUSES OF ACTION
17                                    FIRST CAUSE OF ACTION
18           VIOLATIONS OF THE CALIFORNIA FALSE ADVERTISING LAW,
19                          CAL. BUS. & PROF. CODE §§ 17500 ET SEQ.
20          58.    Plaintiff realleges and incorporates the allegations elsewhere in the Complaint
21   as if fully set forth herein.
22          59.    The FAL prohibits any statement in connection with the sale of goods “which is
23   untrue or misleading,” Cal. Bus. & Prof. Code § 17500.
24          60.    Welch’s representation that the Welch Grape Juices “Help[] Promote” or “Help
25   Support Heart Health” is deceptive in light of the scientific evidence that regular consumption
26   of 100% fruit juice at typical levels is associated with increased risk of cardiovascular disease,
27   risk factors for cardiovascular disease, type 2 diabetes, and mortality.
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 1          61.    Welch knew, or reasonably should have known, that the challenged heart health
 2   representations were untrue or misleading.
 3                                    SECOND CAUSE OF ACTION
 4    VIOLATIONS OF THE CALIFORNIA CONSUMERS LEGAL REMEDIES ACT,
 5                                   CAL. CIV. CODE §§ 1750 ET SEQ.
 6          62.    Plaintiff realleges and incorporates the allegations elsewhere in the Complaint
 7   as if fully set forth herein.
 8          63.    The CLRA prohibits deceptive practices in connection with the conduct of a
 9   business that provides goods, property, or services primarily for personal, family, or
10   household purposes.
11          64.    Welch’s policies, acts, and practices were designed to, and did, result in the
12   purchase and use of the Welch Grape Juices primarily for personal, family, or household
13   purposes, and violated and continue to violate the following sections of the CLRA:
14                 a.     § 1770(a)(5): representing that goods have characteristics, uses, or
15          benefits which they do not have.
16                 b.     § 1770(a)(7): representing that goods are of a particular standard, quality,
17          or grade if they are of another.
18                 c.     § 1770(a)(9): advertising goods with intent not to sell them as advertised.
19                 d.     § 1770(a)(16): representing the subject of a transaction has been supplied
20          in accordance with a previous representation when it has not.
21          65.    In compliance with Cal. Civ. Code § 1782, Plaintiff sent written notice to Welch
22   of his claims under the CLRA, but Welch failed, after 30 days, to satisfy his demands or to
23   rectify its behavior. Accordingly, Plaintiff, on behalf of himself and the class, seeks injunctive
24   relief, restitution, statutory damages, compensatory damages, punitive damages, and
25   reasonable attorneys’ fees and costs.
26          66.    In compliance with Cal. Civ. Code § 1782(d), an affidavit of venue is filed
27   concurrently with the Complaint.
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 1                                   THIRD CAUSE OF ACTION
 2          VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW,
 3                          CAL. BUS. & PROF. CODE §§ 17200 ET SEQ.
 4          67.    Plaintiff realleges and incorporates the allegations elsewhere in the Complaint
 5   as if fully set forth herein.
 6          68.    The UCL prohibits any “unlawful, unfair or fraudulent business act or practice,”
 7   Cal. Bus. & Prof. Code § 17200.
 8                                             Fraudulent
 9          69.    Welch’s representation that the Welch Grape Juices “Help[] Promote” or
10   “Help[] Support Heart Health” is likely to deceive reasonable consumers in light of the
11   scientific evidence that regular consumption of 100% fruit juice at typical levels is associated
12   with increased risk of cardiovascular disease, risk factors for cardiovascular disease, type 2
13   diabetes, and mortality.
14                                               Unfair
15          70.    Welch’s conduct with respect to the labeling, advertising, and sale of the Welch
16   Grape Juices was unfair because Welch’s conduct was immoral, unethical, unscrupulous, or
17   substantially injurious to consumers and the utility of its conduct, if any, does not outweigh
18   the gravity of the harm to its victims.
19          71.    Welch’s conduct with respect to the labeling, advertising, and sale of the Welch
20   Grape Juices was also unfair because it violated public policy as declared by specific
21   constitutional, statutory or regulatory provisions, including the False Advertising Law, the
22   Federal Food, Drug, and Cosmetic Act, and the California Sherman Food, Drug, and
23   Cosmetic Law.
24          72.    Welch’s conduct with respect to the labeling, advertising, and sale of the Welch
25   Grape Juices was also unfair because the consumer injury was substantial, not outweighed by
26   benefits to consumers or competition, and not one consumers themselves could reasonably
27   have avoided.
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 1                                              Unlawful
 2          73.    The acts alleged herein are “unlawful” under the UCL in that they violate at least
 3   the following laws:
 4                 a.     The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.;
 5                 b.     The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq.; and
 6                 c.     The Federal Food, Drug, and Cosmetic Act, 28 U.S.C. §§ 301 et seq., and
 7          its implementing regulations, 21 C.F.R. §§ 101 et seq.; and
 8                 d.     The California Sherman Food, Drug, and Cosmetic Law, Cal. Health &
 9          Safety Code §§ 109875, et seq.
10                                     FOURTH CAUSE OF ACTION
11                                      Breach of Express Warranty
12          74.    Plaintiff realleges and incorporates the allegations elsewhere in the Complaint
13   as if set forth in full herein.
14          75.    Through the labels of Welch Grape Juices bearing heart health claims, Welch
15   made affirmations of fact or promises, and made descriptions of goods, which formed part of
16   the basis of the bargain, in that Plaintiff and the class purchased the products in reasonable
17   reliance on the statement that each Welch Grape Juice “Helps Promote” or “Helps Support
18   Heart Health.” Cal. Com. Code § 2313(1).
19          76.    Welch breached its express warranties by selling products that do not meet the
20   above affirmations and product descriptions because they are not heart healthy, but in fact
21   present increased risk of cardiovascular disease, risk factors for cardiovascular disease, type
22   2 diabetes, and mortality with regular consumption.
23          77.    That breach actually and proximately caused Plaintiff and the class injury in the
24   form of the lost purchase price they paid for the Welch Grape Juices bearing heart health
25   claims.
26          78.    Plaintiff notified Welch of the breach prior to filing the lawsuit and prior to
27   asserting a claim for breach, but Welch failed to rectify the breach.
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 1          79.    As a result, Plaintiff seeks, on behalf of himself and other class members, actual
 2   damages arising as a result of Welch’s breaches of express warranty.
 3                                     FIFTH CAUSE OF ACTION
 4                          Breach of Implied Warranty of Merchantability
 5          80.    Plaintiff realleges and incorporates the allegations elsewhere in the Complaint
 6   as if set forth in full herein.
 7          81.    Welch, through its acts and omissions set forth herein, in the sale, marketing and
 8   promotion of Welch Grape Juices bearing heart health claims, made representations to
 9   Plaintiff and the class that the products are “Heart Health[y].” Plaintiff and the class bought
10   the Welch Grape Juices bearing the heart health claims manufactured, advertised, and sold
11   by Welch as described herein.
12          82.    Welch is a merchant with respect to the goods of this kind which were sold to
13   Plaintiff and the class, and there was, in the sale to Plaintiff and other consumers, an implied
14   warranty that those goods were merchantable.
15          83.    However, Welch breached that implied warranty in that Welch Grape Juices are
16   not heart-healthy, as set forth in detail herein.
17          84.    As an actual and proximate result of Welch’s conduct, Plaintiff and the class did
18   not receive goods as impliedly warranted by Welch to be merchantable, in that they did not
19   conform to promises and affirmations made on the container or label of the goods. See Cal.
20   Com. Code § 2314(2)(f).
21          85.    Plaintiff notified Welch of the breach prior to filing the lawsuit and prior to
22   asserting a claim for breach, but Welch failed to rectify the breach.
23          86.    As a result, Plaintiff seeks, on behalf of himself and other class members, actual
24   damages arising as a result of Welch’s breaches of implied warranty.
25                                      PRAYER FOR RELIEF
26          87.    Wherefore, Plaintiff, on behalf of himself, all others similarly situated, and the
27   general public, prays for judgment against Welch as to each and every cause of action, and
28   the following remedies:
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 1               a.    An Order certifying this as a class action, appointing Plaintiff and his
 2        counsel to represent the class, and requiring Welch to pay the costs of class notice;
 3               b.    An Order enjoining Welch from labeling, advertising, or packaging the
 4        Welch Grape Juices with the challenged heart health claims identified herein;
 5               c.    An Order compelling Welch to conduct a corrective advertising campaign
 6        to inform the public that the Welch Grape Juices were deceptively marketed;
 7               d.    An Order enjoining Welch’s longstanding policy, practice, and strategy
 8        of marketing the Welch Grape Juices with misleading heart health claims;
 9               e.    An Order requiring Welch to pay restitution to restore funds acquired by
10        means of any act or practice declared by this Court to be an unlawful, unfair, or
11        fraudulent business act or practice, untrue or misleading advertising, or a violation of
12        the UCL, FAL, or CLRA;
13               f.    An Order requiring Welch to pay all statutory, compensatory, and
14        punitive damages permitted under the causes of action alleged herein;
15               g.    An Order requiring Welch to disgorge or return all monies, revenues, and
16        profits obtained by means of any wrongful or unlawful act or practice;
17               h.    Pre- and post-judgment interest;
18               i.    Costs, expenses, and reasonable attorneys’ fees; and
19               j.    Any other and further relief the Court deems necessary, just, or proper.
20                                        JURY DEMAND
21        88.    Plaintiff hereby demands a trial by jury on all issues so triable.
22
23   Dated: March 23, 2020                  /s/ Jack Fitzgerald
24                                       THE LAW OFFICE OF JACK
25                                       FITZGERALD, PC
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27                                       TREVOR M. FLYNN
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28                                       MELANIE PERSINGER
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